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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISON

UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
                                          )
           v.                             )           No. 18 CR 157
                                          )           Judge John Z. Lee
DEON PUGH,                                )
          Defendant.                      )

           DEON PUGH’S MOTION FOR JUDGMENT OF ACQUITTAL
                   OR ALTERNATIVELY, NEW TRIAL


      Now Comes Defendant, DEON PUGH, by his attorneys QUINN A.

MICHAELIS and JOSHUA B. ADAMS, pursuant to Federal Rules of Criminal

Procedure 29 and 33, and respectfully moves this Honorable Court to enter an order

granting a judgment of acquittal, or alternatively for a new trial. In support

thereof, Mr. Pugh states as follows.

      I.        INTRODUCTION

      Mr. Pugh was charged, along with others, with conspiracy to distribute over

one kilogram of heroin, two counts of distribution of a controlled substance, and one

count of being a felon in possession of a firearm. Mr. Pugh’s trial was conducted

before this Court from February 28, 2022 to March 4, 2022. The government’

presented testimony from investigating agents and officers, expert witnesses, and

cooperating co-defendant Derick Wiltz. At the close of the government’s case, Mr.

Pugh orally moved this Court for a judgment of acquittal pursuant to Federal Rule

of Evidence 29(a), arguing that the government failed to meet its burden with

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respect to the threshold quantity of controlled substances required to impose a

mandatory minimum term of imprisonment for the conspiracy count. That motion

was taken under advisement until the Court issued its verdict.

      On March 9, 2022, this Court returned a verdict of guilty on all counts of the

indictment, and a finding that the charged conspiracy involved the distribution of

over 1,000 grams of heroin. This Court then granted an extension of time for the

filing of post-trial motions to May 11, 2022. Mr. Pugh now renews his judgment of

acquittal pursuant to Rule 29 because the evidence at trial was insufficient to

sustain a special verdict that the charged conspiracy involved more than 1,000

grams of heroin. Alternatively, Mr. Pugh respectfully requests a new trial. With

regard to the arguments presented, Mr. Pugh incorporated herein, all arguments

made in open court, at sidebar, and that were the subject of any motions or

memoranda filed in this case.

      II.     ARGUMENT

      Rule 29 of the Federal Rules of Criminal Procedure instructs courts, that

upon a defendant’s motion, they “must enter a judgment of acquittal of any offense

for which the evidence is insufficient to sustain a conviction.” Fed.R.Crim.P. 29; see

also United States v. Mohamed, 759 F.3d 978, 803 (7th Cir. 2014). Entry of a

judgment of acquittal is appropriate when, considering the evidence in the light

most favorable to the government, no fact finder “could have found the existence of

each element of the crime beyond a reasonable doubt.” United States v. Kitchen, 57

F.3d 516, 529 (7th Cir. 1995); see also Jackson v. Virginia, 443 U.S. 307, 319 (1979);



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United States v. Peters, 277 F.3d 963, 967 (7th Cir. 2002); United States v. Rivera,

273 F.3d 751, 755 (7th Cir.2001). Judgment of acquittal must, therefore, be entered

where the government failed to prove even one element of the crime charged beyond

a reasonable doubt. Kitchen, 57 F.3d at 523 (reversing conviction where government

failed to prove element of crime).

      Further, the fact finder ’s decision may not be based on impermissible

inferences and mere speculation. Mohamed, 759 F.3d at 810; see also United States

v. Sanchez, 615 F.3d 836, 845 (7th Cir. 2010) (jury verdict overturned where jury

verdict rested solely on the “piling of inferences upon inferences.”). There must be a

distinguished line between reasonable inferences and speculation; the government’s

case cannot be based on “conjecture camouflaged as evidence.” Piaskowski v. Bett,

256 F.3d 687, 693 (7th Cir. 2001). When “the record is devoid of evidence pointing to

guilt,” or “evidence on a key element” is “so tenuous that a conviction would be

shocking,” a judgment of acquittal is required. United States v. Meadows, 91 F.3d

851, 855 (7th Cir. 1996) (internal quotations omitted).

      The Court based its findings as to the amount of heroin distributed by the

conspiracy on the following information:


          •   Wiltz participated in two transactions in September 2017, and October

              2017 in which he distributed a total of 215 grams of heroin.

          •   On November 18, 2017, Mr. Pugh and Mason conspired to distribute 50

              grams of heroin.




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             •   On November 20, 2017, Mr. Pugh and Mason conspired to distribute 50

                 grams of heroin.

             •   On November 29, 2017, Mr. Pugh and Mason conspired to distribute 50

                 grams of heroin.

             •   On February 7, 2018, the conspiracy distributed 25 grams of heroin.

             •   On February 7, 2018, Mr. Pugh stated that he had 1000 grams of

                 heroin.

             •   On February 9, 2018, the conspiracy distributed 100 grams of heroin.

             •   On February 14, 2018, Mr. Pugh and Mason conspired to distribute 50

                 grams of heroin.

             •   On February 15, 2018, a customer returned 15 grams of heroin that

                 had previously been distributed.

             •   On February 23, 2018, Mr. Pugh and another co-conspirator discussed

                 10.4 grams of heroin.

             •   On February 28, 2018, Mr. Pugh and Mason conspired to distribute

                 100 grams of heroin.

             •   On March 7, 2018, Mr. Pugh and other co-conspirators discussed 250

                 grams of heroin.

             •   The searches of the houses occupied by co-conspirators added an

                 additional 321.2 grams of heroin

       In total, the Court found that the conspiracy involved at least 2,236.6 grams

of heroin.


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Wiltz’s transactions from September and October 2017 equaling 215 grams of

heroin.

      Proof of a drug conspiracy under 21 U.S.C. § 846 requires "substantial

evidence that the defendant knew of the illegal objective of the conspiracy and

agreed to participate." United States v. Longstreet, 567 F.3d 911, 918-19 (7th Cir.

2009). For instance, "[a] conspiracy may be shown by evidence which shows that

the co-conspirators embraced the criminal objective of the conspiracy, that the

conspiracy continued towards its common goal, and that there were co-operative

relationships." United States v. Gilmer, 534 F.3d 696, 703 (7th Cir. 2008). Each

conspirator may be liable for “acts of every other conspirator done in furtherance of

the conspiracy.'" United States v. Gironda, 758 F.2d 1201, 1211 (7th Cir. 1985).

However, a conspirator may not be held responsible for the acts of his co-

conspirators if those acts “could not be reasonably foreseen as a necessary or

natural consequence of the unlawful agreement.” Pinkerton v. United States, 328

U.S. 640, 1184 (1946).

      Here, although the Court found that the conspiracy began in September

2017, and therefore Mr. Pugh is responsible for the heroin Wiltz admitted to

distributing in September and October 2017. However, in trying to determine the

scope of Wiltz’ knowledge of Mr. Pugh’s dealings with Mason, the following

exchange occurred:

      Q: …at some point between February and the end of August into September,
      you had met Deon Pugh?

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      A: I did not know him like that. I mean, I—I—knew of him. But we had no
      dealings with each other. And when he started coming around Chip house,
      that’s how it happened.

      Q: Okay. So at what point did he start coming around Chip’s house?

      A: In end of ’17. (Tr. 393).

      Later, on cross examination, in response to questions about the information

Wiltz provided to the FBI about other people coming to Mason’s house during the

time that he was an informant, between September and October of 2017, the

following exchange occurred:

      Q: You were told by the FBI to get information about people in Chip’s house,
      right?

      A: Yeah.

      Q: Okay, and, then, you did that; is that right?

      A: Yeah.

      Q: And then you would go back to your FBI –the person that you were
      talking to and you would give them that information, is that right?

      A: Yeah.

      Q: And, then, while you were doing that, you never once told the agent
      about Deon Pugh correct?

      A: I told them what they wanted to hear, what they wanted—everything the
      wanted to know, and what they wanted –asked me to do. That’s what I told
      them.

      The Court: Mr. Wiltz, that’s not the question though. Go ahead and ask him
      the question again, please.

      Q: You never told the agents that you were working for about Deon Pugh.

      A: No.

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(Tr. 475-76).

      Here, although Wiltz admitted to the distribution of two separate quantities

in September and October of 2017, the government presented no evidence that

these two distributions were foreseeable to Mr. Pugh. Despite Wiltz’s unequivocal

testimony that he met Mr. Pugh at the end of 2017, the government elicited

testimony that Mr. Pugh came to Mason’s house every day beginning August of

2017. He further admitted that he was instructed to get information about people

coming to Mason’s house during September and October of 2017, but never provided

information to the FBI that Mr. Pugh was one of those people coming to Mason’s

house during that time period. There was no corroborating evidence presented that

Mr. Pugh did, in fact begin coming to Mason’s house every day during that time

period, or that he would have had the knowledge to be able to foresee these

transactions Wiltz admitted to from September and October of 2017. There was no

testimony that Mr. Pugh had any knowledge of Mason’s activities outside of what

Mr. Pugh did with Mason, or that he had knowledge of Mason’s activities in

September or October of 2017.

      Further, The government’s evidence showing Mr. Pugh going to Mason’s

house does not support that he would go there every day. The government had pole

camera footage of Mason’s house every day from at least November 2017 through

March 2018. Yet the government presented evidence that Mr. Pugh went to

Mason’s house only on 9 occasions during that 5-month period of time. None of these

occasions were on consecutive days. Further, despite obtaining the ability to



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overhear Mason’s phone conversations in November of 2017, the only calls

presented between Mason and Mr. Pugh were from the end of November, 2017. The

government presented no evidence to corroborate Wiltz’ confused testimony, that

Mr. Pugh was coming to the house every day beginning September of 2017—despite

having access to the pole camera outside of Mason’s house, physical surveillance of

the activities at Mason’s house, and recorded phone calls from Mason’s phone. The

215 grams of heroin Wiltz admitted to distributing should not be included in the

amount of heroin attributable to Mr. Pugh.



February 7th phone call about 1000g of Heroin.

      The Court erred in finding that Mr. Pugh was actually talking about having

received 1000 grams of heroin prior to the date of this phone call. The Court’s

finding was based in part on the fact that the proposition that this statement was

exaggeration was “not supported by any evidence, either in the texts, in that

particular phone call or any other phone call.” (Tr. 742). However, the contrary

proposition, that Mr. Pugh had actually received 1000 grams of heroin before

February 7, 2018, is similarly not supported by any evidence, either in the texts, in

that particular phone call, or any other phone call.

      Prior to February 7, 2018, the government presented evidence that Mr. Pugh

went to Mason’s house to retrieve 50 grams of heroin on three separate occasions.

These were occasions that occurred not one day after another, but were separated

by a number of days—the longest of which was 9 days. Further, the most Mr. Pugh



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discussed purchasing from Mason was 50 grams at a time. Despite having access to

the pole camera outside of Mason’s home during December 2017 and January 2018,

the government presented no evidence of Mr. Pugh’s activities at Mason’s house

during this time period, and there were no phone calls or text messages from this

time period either. Further, the government presented no further phone calls

between Mr. Pugh and Lucas Currie (the other individual in the phone call) to

establish the nature of their relationship, or to support an inference that Mr. Pugh

did not exaggerate to him or have reason to mislead Lucas Currie about the nature

of his distribution activities. To credit Mr. Pugh’s statement about 1000 grams of

heroin as anything but bolstering or exaggeration is just speculation, and the

special verdict on drug quantity cannot be based on impressible inferences or

speculation. Mohamed, 759 F.3d at 810. This 1000 gram heroin amount should

not be attributable to Mr. Pugh1.



February 9th distribution of 100g of Heroin

         The Court erred in finding that the conspiracy distributed 100g of heroin on

February 9th, 2018. At most the amount distributed on this date was 50 grams.

Here, the Court credited Wiltz’ testimony that he recalled the amount distributed to

a man in a Honda on that evening to be 100 grams. However, in Government’s

Exhibit 214, Mr. Pugh and Mason discussing someone in a Honda pulling up to the


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 Even taking as true that this conversation involved an admission that Mr. Pugh and Mason received 250 grams of
heroin at somepoint prior to this phone call, there is no independent evidence to suggest that this was a separate
amount of heroin that was distributed and not what was eventually distributed in the calls that followed the February
7, 2018 phone call.

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house and having Mason send someone out to give that person 50 grams of heroin.

Government’s Exhibit 252 continues the conversation between Mr. Pugh and Mason

about this customer in a Honda, discussing the car getting stuck in the snow, and

Wiltz is heard on this call receiving instructions to take this quantity of 50 grams to

this person in the Honda, now waiting at a gas station on 63rd and Dan Ryan.

Despite Mr. Wiltz’s certainty that this transaction involved 100 grams of heroin, his

testimony is clearly contradicted by the phone calls from that night that discuss the

specific amount of heroin being only 50 grams. Importantly, this is the only

transaction that Wiltz testified about that had independent corroboration through

phone calls and pole camera footage, and that independent corroboration

demonstrated that Wiltz’s testimony was unreliable.



February 7th phone call about 1000g of Heroin.

      The Court erred in finding that Mr. Pugh was actually talking about having

received 1000 grams of heroin prior to the date of this phone call. The Court’s

finding was based in part on the fact that the proposition that this statement was

exaggeration was “not supported by any evidence, either in the texts, in that

particular phone call or any other phone call.” (Tr. 742). However, the contrary

proposition, that Mr. Pugh had actually received 1000 grams of heroin before

February 7, 2018, is similarly not supported by any evidence, either in the texts, in

that particular phone call, or any other phone call.




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      Prior to February 7, 2018, the government presented evidence that Mr. Pugh

went to Mason’s house to retrieve 50 grams of heroin on three separate occasions.

These were occasions that occurred not one day after another, but were separated

by a number of days—the longest of which was 9 days. Further, the most Mr. Pugh

discussed purchasing from Mason was 50 grams at a time. Despite having access to

the pole camera outside of Mason’s home during December 2017 and January 2018,

the government presented no evidence of Mr. Pugh’s activities at Mason’s house

during this time period, and there were no phone calls or text messages from this

time period either. Further, the government presented no further phone calls

between Mr. Pugh and Lucas Currie (the other individual in the phone call) to

establish the nature of their relationship, or to support an inference that Mr. Pugh

did not exaggerate to him or have reason to mislead Lucas Currie about the nature

of his distribution activities. To credit Mr. Pugh’s statement about 1000 grams of

heroin as anything but bolstering or exaggeration is just speculation, and the

special verdict on drug quantity cannot be based on impressible inferences or

speculation. Mohamed, 759 F.3d at 810. This 1000 gram heroin amount should

not be attributable to Mr. Pugh.



February 28 distribution of 100g of Heroin

      The Court found Mr. Pugh responsible of the distribution of 100 grams of

heroin on February, 28 2018 based on a series of text messages between Mr. Pugh

and another unidentified individual, which was entered into evidence as



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Defendant’s exhibit 7. In one of the first messages to Mr. Pugh, the unidentified

individual states “”I need 100 bro n link ok tonight or early n am.” After this

individual sends a second message stating “need link bad,” Mr. Pugh responds

“everyone will have it on Thursday.” The individual then asks whether Mr. Pugh

can “shoot west they want 20 cod.” After a number of texts back and forth where

Mr. Pugh and the unknown individual discuss trying to meet up, the conversation

concludes with the unknown individual stating “we missed them next time ok.”

      There is no evidence to support the inference that “100 n link” is 100 grams of

heroin, and not an amount to be placed on a link card, which will be replaced on the

first day of the next month, Thursday, March 1, 2018. Further, even if this

conversation was about distribution of heroin, at most, this particular transaction

involved 20 grams of heroin (“they want 20 cod”), and this transaction ultimately

never completed (“we missed them next time ok.”) Mr. Pugh should not be held

responsible for the distribution of 100 grams of heroin on February 28, 2018.




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      III.    CONCLUSION

      The evidence presented by the government at trial was insufficient to support

the Court’s finding that Mr. Pugh conspired with others to distribute over 1000

grams of heroin. Mr. Pugh he conspired to distribute a quantity of heroin below the

1000 grams threshold. For the foregoing reasons, Mr. Pugh respectfully requests

this Honorable Court enter a judgment that Mr. Pugh did not conspire to distribute

at least 100 grams of heroin, or in the alternative that he be granted a new trial.




      Respectfully submitted,


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                            CERTIFICATE OF SERVICE
       I, Quinn A. Michaelis, an attorney, certify that in accordance with FED. R.
CRIM. P. 49, FED. R. CIV. P. 5, LR5.5, and the General Order on Electronic Case
Filing (ECF), the following document:

        DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL OR
                    ALTERNATIVELY, NEW TRIAL

      was served on May 11, 2022, to all parties of record via the CM/ECF system.

s/ Quinn A. Michaelis
Quinn A. Michaelis




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